                       United States District Court for the Eastern District ofNew York
Case 1:05-md-01720-MKB-JO Document 7457 Filed 05/28/19 Page 1 of 2 PageID #: 109672             INCLER^f^nCE
                                                  Clerk of Court                           U.S. DISTRICT COURT E.D.N.Y
                                               225 Cadman Piaza                             *     i^AV 9 fi onto
                                          Brooklyn, New York 11201                                MAY 28 2019 ^
      You must also send a copy of your Statement of Objections to Rule 23(b)(3) Clas^SQfrllMl OFFICE
      Counsel for the Defendants at the following addresses;
            QUESTIONS? CALL l-80(KS25-6440 OR VISIT www.PayinentCardSettlement.coiii
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   The Clerk ofCourt,the attorneys for the class and defendants must receive your letter by July 23,2019.
   What should my Statement of Objections say?
   Your Statement of Objections must contain the following information:
  UNITED STATES DISTRICT COURT

  FOR THE EASTERN DISTRICT OF NEW YORK


  In re Payment Card Interchange Fee and                     No.05-MD-01720(MKB)(JO)
  Merchant Discount Antitrust Litigation

  Statement of Objections
  I am a member of the Rule 23(b)(3) Settlement Class in the case called In re Payment Card

  I am a Class member because [Xw/ information that will prove you are a class member, such as
  your business name and address, and how long you have accepted Visa or Mastercard cards].
  I object to class counsel's request for attorneys' fees and expenses and/or to the request for service
  awards to the Rule 23(b)(3) Class Plaintiffs.
  My reasons for objecting are:
  The laws and evidence that support each of my objections are:
  My personal information is:
      o Name (first, middle, last): 1)0^X1          5co-tV                   L kX
      o Address:                                                      ftO PofX <>( H I t
      o Phone No.:                  ^0^X752 50:^3
  The contact information for my lawyer(if any)is:
  Can I call the Court or the Judge's office about my objections?
  No. If you have questions, you may visit the website for the settlement,
  www.PaymentCardSettlement.com, or call the Class Administrator at 1-800-625-6440.
                                            \/\^A                  Zo\^ 4b


        QUESTIONS? CALL 1-800-625^440 OR VISIT www.PaymenfCardSettlement.com
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